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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION


                                                          Action No: 3:17CV72
  Elizabeth Sines , et al                                 Date: 4/19/2018
  vs.                                                     Judge: Joel C. Hoppe
                                                          Court Reporter: H. Wheeler/FTR
  Jason Kessler, et al
                                                          Deputy Clerk: Heidi N. Wheeler



  Plaintiff Attorney(s)                            Defendant Attorney(s)
  Roberta Kaplan, Alan Levine, Philip Bowman,      Richard Spencer, pro se; James Kolenich
  John Rottenborn



                                      LIST OF WITNESSES

  PLAINTIFF/GOVERNMENT:                            DEFENDANT:
  1.                                               1.



  PROCEEDINGS:
  TELEPHONIC HEARING             3:04-3:13=9 min

  Issues regarding emails and lack of a written response from defendant Mosely addressed.

  Supplementing the already pending Motion to Show cause discussed.

  Representation of Mosely addressed.

  Mr. Spencer addresses Court.
